 Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 1 of 39 PageID #: 167



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI

       Derrick Rodgers, William Owens,                )
       Thaddeus Dumas, Frankie Edwards,               )
       Zachary Ward, Dwayne Shelton, Jared            )
       Williams, October Smith, Jonathan              )
       Smith, Lance Cole, & DeAngelo Johnson          )
       Individually and on behalf of all others       )
       similarly situated,                            )   Case No.:     4:12-cv-01482-JCH
                                                      )
                                        Plaintiffs,   )
                                                      )
       v.                                             )
                                                      )
       Corrections Officer Dexter Brinson,            )
       Corrections Officer Elvis Howard,              )
       Individually and in their official capacities; )   JURY TRIAL REQUESTED
       Corrections Officer Jeffries, Corrections )
       Officer Baker, Corrections Officer Woods )
       Individually and in their official capacities; )
       Eddie Roth, Dale Glass, Charles Bryson, )
       Eugene Stubblefield, Individually and in )
       their official capacities; and the City of     )
       St. Louis,                                     )
                                        Defendants. )


                    PLAINTIFFS’ SECOND AMENDED COMPLAINT

       COME NOW Plaintiffs, on behalf of themselves and all others similarly situated, by

and through undersigned counsel, and for their First Amended Complaint allege the following:

                                              Parties

1.     Plaintiff Derrick Rodgers (Rodgers) at all pertinent times herein was an adult male

       incarcerated within the City of St. Louis.

2.     Plaintiff William Owens (Owens) at all pertinent times herein was an adult male

       incarcerated within the City of St. Louis.




                                                 1
 Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 2 of 39 PageID #: 168



3.    Plaintiff Thaddeus Dumas (Dumas) at all pertinent times herein was an adult male

      incarcerated within the City of St. Louis.

4.    Plaintiff Frankie Edwards (Edwards) at all pertinent times herein was an adult male

      incarcerated within the City of St. Louis.

5.    Plaintiff Zachary Ward (Ward) at all pertinent times herein was an adult male

      incarcerated within the City of St. Louis.

6.    Plaintiff Dwayne Shelton (Shelton) at all pertinent times herein was an adult male

      incarcerated within the City of St. Louis.

7.    Plaintiff Jared Williams (Williams) at all pertinent times herein was an adult male

      incarcerated within the City of St. Louis.

8.    Plaintiff October Smith (Smith) at all pertinent times herein was an adult male

      incarcerated within the City of St. Louis.

9.    Plaintiff Jonathan Smith (Jonathan Smith) at all pertinent times herein was an adult male

      incarcerated within the City of St. Louis.

10.   Plaintiff Lance Cole (Cole) at all pertinent times herein was an adult male incarcerated

      within the City of St. Louis.

11.   Plaintiff DeAngelo Johnson (Johnson) at all pertinent times herein was an adult male

      incarcerated within the City of St. Louis.

12.   Defendant Dexter Brinson (Brinson) at all pertinent times herein was employed as a

      “corrections officer” for the City of St. Louis. He is sued in his individual and official

      capacities.




                                               2
 Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 3 of 39 PageID #: 169



13.   Defendant Elvis Howard (Howard) at all pertinent times herein was employed as a

      “corrections officer” for the City of St. Louis. He is sued in his individual and official

      capacities.

14.   Defendant “Jeffries” at all pertinent times herein was employed as a “corrections officer”

      for the City of St. Louis. He or she is sued in his or her individual and official capacities.

15.   Defendant “Baker” at all pertinent times herein was employed as a “corrections officer”

      for the City of St. Louis. He or she is sued in his or her individual and official capacities.

16.   Defendant “Woods” at all pertinent times herein was employed as a “corrections officer”

      for the City of St. Louis. He or she is sued in his or her individual and official capacities.

17.   Defendant Charles Bryson (Bryson) at all pertinent times herein was employed as the

      “Director of Public Safety” for the City of St. Louis. Bryson is sued in his individual and

      official capacities.

18.   Defendant Eddie Roth (Roth) at all pertinent times herein was employed as the “Director

      of Public Safety” for the City of St. Louis. Roth is sued in his individual and official

      capacities. Roth is also sued pursuant to Fed.R.Civ.P. 25(d) as Bryson’s successor in

      office.

19.   Defendant Eugene Stubblefield (Stubblefield) at all pertinent times herein was employed

      as the Commissioner of the Department of Corrections for the City of St. Louis.

      Stubblefield is sued in his individual and official capacities.

20.   Defendant Dale Glass (Glass) at all pertinent times herein was employed as the

      Commissioner of the Department of Corrections for the City of St. Louis. Stubblefield is

      sued in his individual and official capacities. Glass is also sued pursuant to Fed.R.Civ.P.

      25(d) as Stubblefield’s successor in office.




                                                3
 Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 4 of 39 PageID #: 170



21.   Defendant City of St. Louis at all pertinent times herein was a municipality of the State of

      Missouri.

                                     Jurisdiction & Venue

22.   This Court has subject-matter jurisdiction in accordance with 28 U.S.C. §§ 1331 and/or

      1343 because plaintiffs seek to recover damages or to secure equitable or other relief

      under any Act of Congress providing for the protection of civil rights.

23.   Venue is proper in this judicial district pursuant to 28 U.S.C.§1391 because all of the

      actions or omissions complained of occurred herein.




                                               4
 Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 5 of 39 PageID #: 171



                                 Common Factual Allegations

24.   All actions or omissions of defendants were made while acting under color of law;

25.   All actions or omissions of defendants were made in the course and scope of their

      employment with the City of St. Louis;

26.   Upon information and belief, the City of St. Louis purchased liability insurance to cover

      the types of actions or omissions alleged herein;

27.   The City of St. Louis has delegated final policymaking authority to the Commissioner of

      the Department of Corrections regarding safekeeping of plaintiff class members.

28.   The City of St. Louis has delegated final policymaking authority to the Director of the

      Department of Public Safety regarding safekeeping of plaintiff class members.

29.   Defendants, at all times herein, were responsible for the “safekeeping” of plaintiff class

      members.

30.   Defendants’ use of sadistic force against plaintiff class members was unlawful.

31.   Defendants’ use of prisoners as surrogates to inflict sadistic force against other prisoners

      was unlawful.

32.   Defendants were obligated to protect prisoners against physical harm from other

      prisoners when any defendant knew or had reason to suspect imminent harm to another

      prisoner.

33.   Defendants were prohibited from encouraging, facilitating, and/or rewarding the use of

      sadistic force by one prisoner against another prisoner.

34.   Defendants were prohibited from using or aiding in the use of sadistic force to “teach a

      lesson” or otherwise discipline to any prisoner.




                                               5
 Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 6 of 39 PageID #: 172



35.   All of the actions or omissions of the defendants resulting in the sadistic use of force

      against any plaintiff class member was done in accordance with the customs and policies

      of the City of St. Louis.

36.   All of the actions or omissions of the defendants resulting in the sadistic use of force

      against any plaintiff class member resulted from a lack of adequate training or

      supervision by the Commissioner of the Department of Corrections and/or the Director of

      the Department of Public Safety.

37.   Prior to any of the acts of the sadistic use of force against plaintiff class members alleged

      herein Stubblefield and/or Bryson knew or should have known of similar prior instances

      of such force.

38.   Stubblefield and/or Bryson knew or should have known of prior instances of the sadistic

      use of force against plaintiff class members by reviewing (i) internal grievances filed by

      corrections officers or other department officials, (ii) formal allegations of excessive

      force by prisoners filed more than five years ago, (iii) “Suffering in Silence: Human

      Rights Abuses in St. Louis Correctional Centers” conducted and prepared by the

      American Civil Liberties Union of Eastern Missouri, (iv) prior civil actions against the

      City of St. Louis, (v) internal findings of the City of St. Louis Board of Alderman or

      special investigative committees, (vi) testimony of current and former department

      officials at hearings held by the City of St. Louis Board of Alderman, (vii) guilty pleas of

      former department officials, (viii) “Still Suffering in Silence: Continuing Human Rights

      Abuses in St. Louis Correctional Centers” conducted and prepared by the American Civil

      Liberties Union of Eastern Missouri, and/or (ix) deposition testimony of current and

      former department officials.




                                                6
 Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 7 of 39 PageID #: 173



39.   To the extent that Stubblefield and/or Bryson knew or should have known of the prior use

      of sadistic force against plaintiff class members, they ratified such actions by failing to

      enact adequate written policies or to consistently enforce appropriate discipline against

      the corrections officers in those prior instances.

40.   The instances of reported sadistic use of force against plaintiff class members are so

      widespread that the failure to enact adequate policies or to enforce appropriate discipline

      effected municipal custom.

41.   Plaintiffs have suffered injury as a result of the acts or omissions alleged herein

      including, but not limited to (untreated) physical injuries, emotional distress and anguish,

      sleeplessness, loss of appetite, weight loss, loss of common privileges, fear of reprisals,

      and continuing threats by corrections officers.

42.   Defendants’ actions and/or omissions reflect a callous disregard of plaintiff class

      members’ right to be from the sadistic infliction of force and warrant the imposition of

      exemplary damages to punish and deter similar unlawful actions or omissions in the

      future.

43.   Plaintiffs have incurred and shall continue to incur reasonable attorney’s fees to prosecute

      this civil action.

                               General Class Action Allegations

44.   Plaintiffs bring this civil action on their own and on behalf of all similarly situated

      prisoners under 42 U.S.C. §§ 1983 and 1988. The class consists of all persons who have

      suffered the infliction of sadistic force either at the hands of or at the encouragement of

      City of St. Louis corrections officers.

45.   The Plaintiff Class satisfies all of the prerequisites stated in Fed.R.Civ.P. 23(a):




                                                7
 Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 8 of 39 PageID #: 174



      (a) The class is so numerous that joinder of all members would be impractical. Upon

         information and belief, members of the class number in the hundreds.

      (b) There are common questions of law or fact, such as whether the offending officers

         encouraged, facilitated, and/or rewarded certain prisoners for inflicting physical harm

         on certain other prisoners.

      (c) The claims or defenses of the representative plaintiffs are typical of the claims or

         defenses of the class; and

      (d) The representative plaintiffs will fairly and adequately protect the interests of the class.

         Plaintiff has no interests antagonistic to the members of the proposed class. Plaintiff’s’

         counsel has experience litigating assault and battery claims;

46.   Moreover, the questions of law or fact common to all members of the class predominate

      over any questions affecting only individual members, and a class action is superior to

      other available methods for the fair and efficient adjudication of the controversy, in that:

      (a) Defendants’ computer or business records will enable Plaintiffs to readily identify

         class members and to establish liability and damages;

      (b) Liability and damages can be established for Plaintiffs and the class with the same

         common proofs;

      (c) Damages are provided for in §§ 1983 and 1988; are the same for all class members;

         and can be calculated in the same or similar manner;

      (d) A class action will result in an orderly and expeditious administration of claims, and it

         will foster judicial economy, and a more judicious exertion of effort and expense;

      (e) A class action will contribute to uniformity of decisions concerning defendants’

         practices;




                                                 8
 Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 9 of 39 PageID #: 175



      (f) As a practical matter, the claims of the class are likely to go unaddressed absent class

          certification;

47.   Plaintiffs on behalf of themselves and the members of the class respectfully pray for this

      Honorable Court to: accept jurisdiction over this cause; certify the class and appoint

      Plaintiffs as the representatives of the class; and appoint counsel for Plaintiffs as counsel

      for the class.

                               Common Class Action Allegations

48.   In all incidents correction officials intentionally used sadistic force on prisoners, or used

      prisoners as surrogates to inflict sadistic force on other prisoners.

49.   Defendants were obligated to protect prisoners against physical harm from other

      prisoners when any defendant knew or had reason to suspect imminent harm to another

      prisoner.

50.   Defendants Baker and Woods were made aware of the use of sadistic force at MSI,

      observed the unauthorized transportation of inmates, and observed several assaults

      themselves.

51.   Despite having such notice, Defendants Baker and Woods failed to take any action to

      abate the risk of imminent harm to the victims, and failed to provide medical attention to

      the victims.

52.   In many of theses instances (five of which are summarized herein), corrections officers

      deliberately removed a prisoner from a cell and placing him in the cell of another,

      knowing of an imminent harm.

1. DERRICK RODGERS

53.   At all times relevant, Plaintiff, Derrick Rodgers, was incarcerated at MSI for case number




                                                 9
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 10 of 39 PageID #: 176



      1122-CR06918-01.

54.   On or about May 24, 2012, at 11:00 PM officers Brinson and Howard removed inmate

      Dumas from cell 12 of Unit 4 for the purpose of using sadistic force against inmate

      Rodgers.

55.   On or about May 25, 2012 at 1:00 AM officers Brinson and Howard removed inmate

      Dumas from cell 12 of Unit 4 for the purpose of using sadistic force against Rodgers.

56.   Each time Brinson and Howard escorted Dumas to the second level to cell 50--inhabited

      by Rodgers.

57.   Brinson and Howard opened or caused to be opened Rodgers’ cell door and placed

      Dumas in the cell.

58.   Prior to placing Dumas in Rodgers’ cell, Brinson and Howard advised Dumas that if he

      did not attack plaintiff Rodgers, they would have him (Dumas) attacked by a third inmate

      in addition to taking away Dumas’ access to the commissary.

59.   Under Brinson and Howard’s order(s), Dumas repeatedly struck Rodgers about the face

      and chest.

60.   At all pertinent times herein, Brinson and Howard remained outside the cell door,

      watching the assault as if a spectator sport.

61.   When Dumas has completed his misguided mission, Brinson and Howard opened the

      door to allow Dumas to exit Rodgers’ cell and returned him to cell 12.

62.   Brinson, Howard, and Dumas caused Rodgers to suffer multiple contusions, bruises and

      blackened eyes as a result of the sanctioned assault.




                                                10
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 11 of 39 PageID #: 177



63.   Despite knowledge of Rodger’s injuries, Brinson and Howard refused or failed to

      summon medical aid for Rodgers in accordance with published City of St. Louis

      regulations.

64.   Upon information and belief, the entire transaction was captured on video surveillance;

65.   Upon information and belief, neither Brinson nor Howard could open the cell doors

      without the assistance of a third officer;

66.   Defendants Howard and Brinson have been charged, and are being prosecuted by the St.

      Louis City Circuit Attorney’s Office for Burglary, Assault, and Obstructing Government

      Operations for their aforementioned actions and inactions under cause numbers 1222-

      CR03462 and 1222-CR03464, respectively.

2. WILLIAM OWENS

67.   At all times relevant, Plaintiff, William Owens, was incarcerated at MSI for case number

      1122-CR07328-01.

68.   On or about May 12, 2012, and while on suicide watch, Plaintiff William Owens

      observed officer Jeffries physically assault inmate Zachary Ward (also known as Karif

      McCreight).

69.   Upon viewing this incident Owens stated to officer Jeffries that he would be informing

      his (Jeffries’) supervisor of the incident.

70.   Jeffries then threatened to have another inmate attack Owens to force him (Owens) to

      remain silent as to what he had observed.

71.   Approximately one hour later officer Jeffries and officer Howard escorted an unnamed

      inmate from cell 30 to cell 12--inhabited by Owens.




                                                   11
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 12 of 39 PageID #: 178



72.   Upon information and belief, prior to placing the unnamed inmate in Owens’ cell, Jeffries

      and Howard instructed the inmate to attack Owens, and that if he did not they would take

      retaliatory action against the unnamed inmate.

73.   Jeffries and Howard opened or caused to be opened Owens’ cell door and placed the

      unnamed inmate in the cell.

74.   Under Jeffries and Howard’s order(s), the unnamed inmate viciously struck Owens for

      several minutes.

75.   At all pertinent times herein, Jeffries and Howard remained outside the cell door,

      watching the assault as if a spectator sport.

76.   When the unnamed inmate had completed his misguided mission, Jeffries and Howard

      opened the door to allow the unnamed inmate to exit Owens’ cell.

77.   Jeffries, Howard, and the unnamed inmate caused Owens to suffer multiple contusions

      and bruises to his face, neck and back as a result of the sanctioned assault.

78.   Despite knowledge of Owens’ injuries, Jeffries and Howard refused or failed to summon

      medical aid for Owens in accordance with published City of St. Louis regulations.

3. THADDEUS DUMAS

79.   At all times relevant, Plaintiff, Thaddeus Dumas, was incarcerated at MSI for case

      number 1122-CR06831.

80.   On multiple occasions Dumas was subjected to sadistic force by officers Howard,

      Brinson, and Jeffries.

81.   On several occasions, under threat and duress Dumas was used as a surrogate by officers

      Howard, Brinson and/or Jeffries to inflict sadistic force on other prisoners at MSI

      (including but not limited to the aforementioned incident with Rodgers).




                                                12
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 13 of 39 PageID #: 179



82.   As a result of Dumas informing officials of the aforementioned incidents officers Howard

      and Brinson are being criminal prosecuted by the St. Louis City Circuit Attorney’s Office

      under cause numbers 1222-CR03462 and 1222-CR03464, respectively.

83.   Upon information and belief, as a result of Dumas’ cooperation with officials, officer

      Howard has attempted to bribe multiple inmates to attack Dumas.

84.   As further result of his cooperation Dumas has since been threatened with sadistic force

      by corrections officers at MSI and has been refused meals for “snitching”.

85.   Dumas has been has been warned by inmates that the corrections officers have “put a

      price on his head” for cooperating with investigating officials.

4. FRANKIE EDWARDS

86.   At all times relevant, Plaintiff, Frankie Edwards, was incarcerated at MSI for case

      number 1122-CR01365-01.

87.   On multiple occasions officers Howard and Brinson have escorted inmates from their

      cells to the cell inhabited by Edwards for the purpose of inflicting sadistic force on

      Edwards.

88.   Upon information and belief, prior each incident inmates were instructed to attack

      Edwards, and that if he did not they (Brinson and Howard) would take retaliatory action

      against the unnamed inmates.

89.   On each occasion officer Howard or Brinson would open, or caused to be opened,

      Edwards’ cell door and placed the unnamed inmate(s) in the cell occupied by Edwards.

90.   Under Howard and Brinson’s order(s), Edwards was viciously attacked by inmates.

91.   At all pertinent times herein, Howard and Brinson remained outside the cell door,

      watching the assault as if a spectator sport.




                                                13
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 14 of 39 PageID #: 180



92.    Howard, Brinson, and the unnamed inmate(s) caused Edwards to suffer multiple

       contusions and a bruises as a result of the sanctioned assaults.

93.    Despite knowledge of Edwards' injuries, Howard and Brinson refused or failed to

       summon medical aid for Owens in accordance with published City of St. Louis

       regulations

5. DWAYNE SHELTON

94.    At all times relevant, Plaintiff, Dwayne Shelton, was incarcerated at MSI for case number

       0922-CR00551-01.

95.    On several occasions officers Howard and Brinson have escorted inmates from their cells

       to the cell inhabited by Shelton for the purpose of inflicting sadistic force on Shelton.

96.    Upon information and belief, prior each incident inmates were instructed to attack

       Shelton, and that if he did not they (Brinson and Howard) would take retaliatory action

       against the unnamed inmates.

97.    On each occasion officer Howard or Brinson would open, or caused to be opened,

       Shelton’s cell door and placed the unnamed inmate(s) in the cell occupied by Shelton.

98.    Under Howard and Brinson’s order(s), Shelton was viciously attacked by inmates.

99.    At all pertinent times herein, Howard and Brinson remained outside the cell door,

       watching the assault as if a spectator sport.

100.   Howard, Brinson, and the unnamed inmate(s) caused Shelton to suffer multiple physical

       injuries as a result of the sanctioned assaults.

101.   Despite knowledge of Shelton’s injuries, Howard and Brinson refused or failed to

       summon medical aid for Owens in accordance with published City of St. Louis

       regulations




                                                 14
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 15 of 39 PageID #: 181



102.   The aforementioned incidents are but a handful of examples where correctional officers,

       for their amusement and for the purpose of inflicting sadistic force upon inmates, created

       a “gladiator sport” environment.




103.   Evidence, including but not limited to video surveillance and eyewitness testimony, of

       Defendants' deliberate indifference and neglect to prisoner health and safety is copious

       and overwhelming.

104.   In many other instances (seven of which are summarized herein), corrections officers

       directly and intentionally inflicted sadistic force upon inmates, and/or negligently

       allowed inmates to be subjected to infliction of sadistic force for the purposes of

       amusement, punishment, retaliation, or other purposes.

1. JARED WILLIAMS

105.   At all times relevant, Plaintiff, Jared Williams, was incarcerated at MSI for case number

       1022-CR03759-01.

106.   On several occasions, Williams, was assaulted by corrections officers at MSI.

107.   On at least one occasion, Williams was removed from his cell by a corrections officer at

       MSI, and taken to another inmates cell for the purpose of engaging in the previously

       described “gladiator styled combat”.

108.   Williams refused to participate in the “gladiator styled combat”.

109.   As a result of his refusal to participate a corrections officer physically assaulted Williams.

110.   As a result of being assaulted by the corrections officer, Williams suffered severe injury

       to his jaw, as well as a concussion.




                                                15
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 16 of 39 PageID #: 182



2. ZACHARY WARD

111.   At all times relevant, Plaintiff, Zachary Ward, also known as Karif McCreight, was

112.   incarcerated at MSI for case number 1122-CR01606-01 and case number 1122-CR07377.

113.   On or about May 12, 2012, while on suicide watch, Ward was physically assaulted by

       officer Jeffries.

114.   Upon information and belief, an unnamed corrections officer opened the cell to allow

       Jeffries entry into Ward’s cell for the purposes of assaulting Ward.

115.   Upon entry Jeffries repeatedly choked and struck a naked and defenseless Ward.

116.   As a result of being assaulted by officer Jeffries, Ward suffered severe injury to face,

       chest, and back.

3. OCTOBER SMITH

117.   At all times relevant, Plaintiff, October Smith was incarcerated at the St. Louis City

118.   Justice Center and MSI, originally for case number 1022-CR03173.

119.   From December 2010 to October 2011, while incarcerated at the Justice Center, Plaintiff

       Smith suffered multiple assaults at the hands of corrections officers, including

       specifically one occasion where Smith was beaten with a corrections officer’s radio and

       choked while restrained to a chair.

120.   As result of the sadistic force inflicted by the corrections officer Smith suffered an

       abrasion to his chin requiring stitches, and injury to his left ear, left eye, and his head.

121.   As a result of the injuries received Smith was sent to the infirmary for treatment.

122.   The attending nurse kept Smith in the infirmary in an attempt to protect Smith from

       further incident at the hands of corrections officers.




                                                 16
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 17 of 39 PageID #: 183



123.   Smith was subsequently told by corrections officers that if he reported the incident he

       would suffer additional beatings.

124.   From October 2011 to present Smith has been incarcerated at MSI.

125.   During this time Smith has suffered multiple physical abuses at the hands of corrections

       officers.

126.   On one such occasion Smith was copiously sprayed in the face with numerous bottles

       mace while restrained to a chair, by a correction officer ranked captain employed at MSI.

127.   Smith has been refused showers, refused teeth cleaning.

128.   Smith has filed multiple “Informal Resolution Reports” as a result of the use of sadistic

       force and inhumane treatment.

4. ERIC GRAY

129.   At all times relevant, Eric Gray was incarcerated at MSI and the Justice Center for case

       number 0922-CR03032-01.

130.   While incarcerated at MSI Eric Gray was placed inside a closet with other inmates and

       pepper sprayed by corrections officers as a form of discipline for fighting with another

       inmate.

131.   Gray attempted to file several complaints and grievances as a result of this use of sadistic

       force and inhumane treatment.

132.   Mr. Gray was subsequently transported and housed at the Justice Center after escaping

       from MSI.

133.   In September 2010, while incarcerated at the Justice Center, Gray suffered physical

       attacks by corrections officers including, but not limited to having his face slammed into

       glass.




                                                17
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 18 of 39 PageID #: 184



134.   As a result of having his face slammed into glass Gray suffered abrasions over his eye

       and requiring stitches.

135.   On a separate occasion, while incarcerated at the Justice Center, a corrections officer

       gave Gray a set of handcuffs and instructed Gray to assault another inmate, Jonathan

       Smith. Gray refused.

136.   As a result of his refusal Gray was assaulted by the corrections officer.

5. JONATHAN SMITH

137.   At all times relevant, Jonathan Smith was incarcerated at the St. Louis City Justice

       Center, between August 29, 2010 thru November 29, 2011.

138.   While incarcerated at the Justice Center, Smith was subjected to at least six separate

       attacks by corrections officers, or by inmates as surrogates for the corrections officers,

       specifically including Lieutenant McMorris and Lieutenant Brock of the Justice Center.

139.   More specifically, during and about March 22, 2011, Lieutenants Brock and/or McMorris

       released inmate October Smith, while the facility was on lockdown, for the purposes of

       attacking Jonathan Smith, and allowed Smith to be thrown from a second floor balcony to

       the floor by October Smith.

140.   Further, during and about March 22, 2011, Lieutenants Brock and/or McMorris released

       inmate Elex Murphy from his cell, while the facility was on lock down and Jonathan

       Smith was in protective custody for the purposes of allowing Murphy to attack Smith.

141.   On a separate occasion, while incarcerated at the Justice Center, a corrections officer

       gave inmate Eric Gray a set of handcuffs and instructed Gray to assault Jonathan Smith.




                                                18
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 19 of 39 PageID #: 185



142.   As a result of the multiple instances of sadistic force Smith was subjected to, Jonathan

       Smith suffered multiple injuries, including but not limited to: bruises to his body, knots to

       his head, and the shoving of an item into Smith’s rectum.

143.   Defendant Bryson was notified of the aforementioned incident(s).

144.   As a result Smith was transferred to MSI.

145.   Despite having knowledge of the incident(s), no disciplinary actions were taken against

       the corrections officers that facilitated or allowed the sadistic use of force.

146.   On or about March 2011 Smith was transferred back to the Justice Center.

147.   Smith was placed on suicide watch and under protective custody in the Justice Center.

148.   While on suicide watch corrections officer Barnes allowed Smith out of his cell “for

       recreation”.

149.   While out of his cell Smith was attacked by inmates October Smith and ‘Kentrell Jones”,

       at the direction of Lieutenant McMorris and corrections officer Barnes.

150.   Smith filed several formal complaints and grievances as a result of these uses of sadistic

       force and inhumane treatment.

151.   Defendants denied Jonathan Smith access to final grievance procedures thru actions or

       omissions.

6. LANCE COLE

152.   At all times relevant, Lance Cole was incarcerated at MSI and the St. Louis City Justice

       Center.

153.   Plaintiff Cole filed a civil suit against the City of St. Louis for his inhumane treatment at

       the hands of the correctional officers.




                                                 19
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 20 of 39 PageID #: 186



154.   On or about March 19, 2004 Cole was threatened by corrections officers that if he did not

       dismiss his civil suit he would be jailed for life, and was transferred from the Justice

       Center to MSI.

155.   On or about March 22, 2004 Cole was placed in Administration Segregation.

156.   Upon information and belief such placed was for the purposes of allowing conduct to

       occur that would not be witnessed by the general population.

157.   As a result of being placed in Administration Segregation Cole was subjected to repeated

       used of sadistic force by the corrections officer and by inmates at the direction of the

       corrections officers.

158.   More specifically, on or about June 10, 2004 a MSI corrections officer opened Cole’s cell

       door, allowing inmate Deandre Pie to enter his cell, and at the direction of the corrections

       officer Cole was assaulted by Pie.

159.   As a result of the use of sadistic force Cole suffered multiple injuries, including but not

       limited to: bruises to his body and a boil, which became infected.

160.   Cole was subsequently denied medical treatment, until such later time that Corrections

       Officer Moore and Lieutenant Lense observed bloody linens in Cole’s cell.

161.   Cole filed several complaints and grievances as a result of the use of sadistic force and

       inhumane treatment he had been subjected to.

7. DEANGELO JOHNSON

162.   At all times relevant, DeAngelo Johnson was incarcerated at both MSI and the St. Louis

       City Justice Center.

163.   While incarcerated Johnson has been assaulted by correction officers, and by inmates at

       the direction of and as surrogates for correction officers.




                                                20
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 21 of 39 PageID #: 187



164.   As a result of the use of sadistic force Johnson suffered multiple injuries, including but

       not limited to: bruises to his body and a boil, which became infected.

165.   Johnson has filed numerous complaints and grievances for his inhumane treatment and

       the use of sadistic force.

166.   In retaliation and in violation of his 6th Amendment rights, defendants withheld Johnson’s

       prescribed medications, causing him to act/become psychotic, subsequently causing

       Johnson to incur additional criminal charges.




167.   The aforementioned incidents are but a handful of examples where correctional officers,

       for their own amusement, for purposes of punishment, or for purposes of retaliation

       intentionally and/or negligently allowed inmates to be subjected to infliction of sadistic

       force.

168.   Evidence, including but not limited to video surveillance, eyewitness testimony, and

       documentation of Defendants' deliberate indifference and neglect to prisoner health and

       safety is copious and overwhelming.

                                          Jury Demand

169.   Plaintiffs hereby demand a jury trial.

                                        Count I
                      Conspiracy to Commit Sadistic Infliction of Force

       Plaintiffs incorporate by reference each of the foregoing paragraphs as though fully

restated herein and for his complaint for Conspiracy to Commit Sadistic Infliction of Force,

pursuant to §§ 1983 and 1988 states the following:




                                                21
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 22 of 39 PageID #: 188



170.   On each aforementioned occasion corrections officer escorted inmates from one cell to

       another, for the purpose of inflicting sadistic force upon another inmate.

171.   Upon information and belief, none of the corrections officer transporting inmates (at a

       time Brinson, Howard and/or Jeffries) could open the cell doors without the assistance of

       another (third) officer.

172.   Upon information and belief, the third officer observed the transactions and failed to

       report same to Glass or Roth because such transactions were commonplace in the City of

       St. Louis and had not been severely punished in prior instances.

173.   Upon information and belief, a third officer facilitated or aided Brinson, Howard, and/or

       Jeffries in the commission of the sadistic physical assaults against inmates.

174.   Defendants Baker and Woods were aware of the use of sadistic force by Brinson,

       Howard, and Jeffries.

175.   Baker and Woods observed the unauthorized transportation of inmates for the purpose of

       inflicting sadistic force upon another inmate and failed to report same to Glass or Roth

       because such transactions were commonplace in the City of St. Louis and had not been

       severely punished in prior instances.

176.   Baker and Woods observed the transactions and failed to report it to Glass or Roth

       because such transactions were commonplace in the City of St. Louis and had not been

       severely punished in prior instances.

177.   Upon information and belief, Baker and Woods facilitated or aided Brinson, Howard,

       and/or Jeffries in the commission of the sadistic physical assaults against inmates.

178.   Rodgers, Owens, Dumas, Edwards, and Shelton reported the incidents to other

       corrections officer and requested formal grievance proceedings.




                                                22
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 23 of 39 PageID #: 189



179.   Rodgers, Owens, and Dumas reported the incidents during the course of investigation by

       police officers.

180.   Neither Bryson, Roth, Stubblefield, nor Glass, took any administrative measures to

       adequately address Rodger’s, Owens’, or Dumas’ individual claims or to repair the harm

       or risk of future harm.

181.   Upon information and belief, Bryson, Roth, Stubblefield and/or Glass knew or should

       have known that Brinson, Howard, or Jeffries had previously used inmates to inflict

       sadistic force upon inmates;

182.   Upon information and belief, Bryson, Roth, Stubblefield and/or Glass failed to terminate

       Brinson, Howard, or Jeffries prior to criminal charges being filed against Brinson and/or

       Howard.

183.   During the interim, neither Bryson, Roth, Stubblefield nor Glass took precautions to

       prevent further harassment or intimidation to Rodgers, Owens, Dumas, Edwards, or

       Shelton.

       WHEREFORE, for the foregoing reasons plaintiff prays for judgment in his favor and

against Brinson, Howard, Jeffries, Baker, Woods, Bryson, Roth, Stubblefield, Glass, and/or the

City of St. Louis in the form of:

       A. An order certifying a class of inmates who have either (i) been coerced by City of St.

           Louis corrections officers into sadistically inflicting harm upon another inmate or (ii)

           been sadistically victimized by inmates under the orders of any City of St. Louis

           corrections official, and appointing plaintiffs’ counsel as class counsel;

       B. A declaration that a City of St. Louis inmate may not “consent” to a corrections

           officer’s order to sadistically inflict harm upon any other inmate;




                                                23
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 24 of 39 PageID #: 190



       C. An Order preliminarily and permanently enjoining the City of St. Louis, its

             corrections officers and agents from using prisoners to inflict sadistic force upon any

             inmate or prisoner;

       D. An order preliminarily and permanently enjoining the City of St. Louis, its

             corrections officers and agents from turning a blind eye to the imminent threat of the

             infliction of sadistic force upon any inmate by any officer or inmate;

       E. An order preliminarily and permanently enjoining the City of St. Louis, its

             corrections officers and agents from depriving any inmate of medical attention

             following the infliction of sadistic force upon any inmate by any officer or other

             inmate;

       F. Compensatory damages;

       G. Exemplary damages in excess of $150,000;

       H. Reasonable attorney’s fees and costs; and

       I. Any other relief this Court deems necessary and appropriate.

                                              Count II
                                    Sadistic Infliction of Force

       Plaintiffs incorporate by reference each of the foregoing paragraphs as though fully

restated herein and for his complaint for Sadistic Infliction of Force, pursuant to 42 U.S.C. §

1983 and the Eighth and Fourteenth Amendments of the United States Constitution, states the

following:

184.   On each aforementioned occasion corrections officers intentionally used sadistic force

       against plaintiff class members, or unlawfully used prisoners as surrogates to inflict

       sadistic force against other prisoners.

185.   Plaintiffs did not have the capacity to consent to the sadistic force.



                                                  24
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 25 of 39 PageID #: 191



186.   Defendants were obligated to protect prisoners from violence at the hands of other

       prisoners.

187.   Defendants were obligated to prohibit to imposition of cruel and unusual punishment

       towards prisoners.

188.   Defendants unlawfully violated the rights of the plaintiff class when they undertook an

       act to place a prisoner at substantial risk of serious harm.

189.   Defendants unlawfully violated the rights of the plaintiff class when they failed to act to

       abate the risk of serious harm to the plaintiff class.

190.   Plaintiffs reported the incidents to other corrections officer and requested formal

       grievance proceedings.

191.   Defendants felt that they could sadistically assault prisoners for no legitimate purpose

       because such transactions were commonplace in the City of St. Louis and had not been

       severely punished in prior instances.

192.   Defendants felt that they could employ sadistic force towards prisoners to “teach a

       lesson” because such transactions were commonplace in the City of St. Louis and had not

       been severely punished in prior instances.

193.   Neither Bryson, Roth, Stubblefield, nor Glass took any administrative measures to

       adequately address plaintiff’s individual claims or to repair the harm or risk of future

       harm.

194.   The failure to take any administrative measures to adequately address plaintiff’s

       individual claims or to repair the harm or risk of future harm constitutes a ratification of

       the unconstitutional actions of corrections officers.




                                                 25
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 26 of 39 PageID #: 192



195.   This pattern of unconstitutional conduct is so widespread and persistent as to have been

       tacitly approved and adopted as policy.

196.   During the interim, neither Bryson, Roth, Stubblefield nor Glass took precautions to

       prevent further harassment or intimidation to plaintiffs.

197.   As a direct and proximate result of the sadistic force inflicted upon plaintiff class

       members, plaintiffs have been seriously, permanently and painfully injured.

       WHEREFORE, for the foregoing reasons plaintiff prays for judgment in his favor and

against Brinson, Howard, Jeffries, Baker, Woods, Bryson, Roth, Stubblefield, Glass, and/or the

City of St. Louis in the form of:

       A. An order certifying a class of inmates who have either (i) been coerced by City of St.

           Louis corrections officers into sadistically inflicting harm upon another inmate or (ii)

           been sadistically victimized by inmates under the orders of any City of St. Louis

           corrections official, and appointing plaintiffs’ counsel as class counsel;

       B. A declaration that a City of St. Louis inmate may not “consent” to a corrections

           officer’s order to sadistically inflict harm upon any other inmate;

       C. An Order preliminarily and permanently enjoining the City of St. Louis, its

           corrections officers and agents from using prisoners to inflict sadistic force upon any

           inmate or prisoner;

       D. An order preliminarily and permanently enjoining the City of St. Louis, its

           corrections officers and agents from turning a blind eye to the imminent threat of the

           infliction of sadistic force upon any inmate by any officer or inmate;

       E. An order preliminarily and permanently enjoining the City of St. Louis, its

           corrections officers and agents from depriving any inmate of medical attention




                                                 26
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 27 of 39 PageID #: 193



           following the infliction of sadistic force upon any inmate by any officer or other

           inmate;

       F. Compensatory damages;

       G. Exemplary damages in excess of $150,000;

       H. Reasonable attorney’s fees and costs; and

       I. Any other relief this Court deems necessary and appropriate.

                                         Count III
                Failure to Train, Supervise, or Implement Sufficient Policies

       Plaintiffs incorporate by reference each of the foregoing paragraphs as though fully

restated herein and for his complaint for Failure to Train, Supervise, or Implement Sufficient

Policies, pursuant to 42 U.S.C. § 1983 states the following:

198.   Corrections Officers for the City of St. Louis Justice Center and MSI are responsible for

       the supervision, safety and security of inmates within said facilities.

199.   Specifically their duties are to: maintain order, prevent disturbances, prevent assaults,

       settle disputes between inmates, enforce discipline, prevent escapes, and are responsible

       for the overall care, custody, and control of individuals who have been arrested, awaiting

       trial, or have been convicted of a crime and sentenced to serve time within said facilities.

200.   The use of sadistic force against plaintiff class members by corrections officers, whether

       for no legitimate purpose, or to “teach a lesson” is unlawful.

201.   The facilitating of a “gladiator style” environment for the purpose of amusement is

       unlawful.

202.   The corrections officers at the City of St. Louis Justice Center and MSI, specifically

       including, but not limited to the named Defendants in this present cause have failed in




                                                27
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 28 of 39 PageID #: 194



       their duties by the commission of unconstitutional acts and/or failure to abate or remedy

       such unconstitutional acts.

203.   In light of the duties assigned to the City of St. Louis corrections officers the need for

       more or different training and proper supervision has been so obvious, and the

       inadequacy so likely to result in the violation of constitutional rights, that the

       aforementioned Defendants and policymakers of the City of St. Louis can reasonably be

       said to have been deliberately indifferent to the need.

204.   The prior patterns of unconstitutional conduct are so persistent and widespread as to have

       been adopted as policy and custom and therefore have the effect and force of law within

       the City of St. Louis corrections system.

205.   The City of St. Louis has delegated final policymaking authority to the Commissioner of

       the Department of Corrections regarding safekeeping of plaintiff class members.

206.   The City of St. Louis has delegated final policymaking authority to the Director of the

       Department of Public Safety regarding safekeeping of plaintiff class members.

207.   Defendants Bryson, Roth, Stubblefield, and/or Glass knew or should have known the

       procedures and policies of the Justice Center and MSI were inadequate and likely to

       result in a violation of constitutional rights by reviewing (i) internal grievances filed by

       corrections officers or other department officials, (ii) formal allegations of excessive

       force by prisoners filed more than five years ago, (iii) “Suffering in Silence: Human

       Rights Abuses in St. Louis Correctional Centers” conducted and prepared by the

       American Civil Liberties Union of Eastern Missouri, (iv) prior civil actions against the

       City of St. Louis, (v) internal findings of the City of St. Louis Board of Alderman or

       special investigative committees, (vi) testimony of current and former department




                                                28
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 29 of 39 PageID #: 195



       officials at hearings held by the City of St. Louis Board of Alderman, (vii) guilty pleas of

       former department officials, (viii) “Still Suffering in Silence: Continuing Human Rights

       Abuses in St. Louis Correctional Centers” conducted and prepared by the American Civil

       Liberties Union of Eastern Missouri, and/or (ix) deposition testimony of current and

       former department officials.

208.   As a direct result of Defendants deliberate indifference to the need of adequate training,

       supervision, or establishing adequate policies regarding hiring and training, and/or more

       or different training, the constitutional rights of the plaintiff class have been violated.

209.   As a direct and proximate result of Defendants deliberate indifference to the

       aforementioned need members of the plaintiff class have suffered sadistic use of force,

       deprivation of meals, deprivation of medical treatment, and other various injuries.

       WHEREFORE, for the foregoing reasons plaintiff prays for judgment in his favor and

against Brinson, Howard, Jeffries, Baker, Woods, Glass, Roth, and/or the City of St. Louis in the

form of:

       A. An order certifying a class of inmates who have either (i) been coerced by City of St.

           Louis corrections officers into sadistically inflicting harm upon another inmate or (ii)

           been sadistically victimized by inmates under the orders of any City of St. Louis

           corrections official, and appointing plaintiffs’ counsel as class counsel;

       B. A declaration that a City of St. Louis inmate may not “consent” to a corrections

           officer’s order to sadistically inflict harm upon any other inmate;

       C. An Order preliminarily and permanently enjoining the City of St. Louis, its

           corrections officers and agents from using prisoners to inflict sadistic force upon any

           inmate or prisoner;




                                                 29
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 30 of 39 PageID #: 196



       D. An order preliminarily and permanently enjoining the City of St. Louis, its

           corrections officers and agents from turning a blind eye to the imminent threat of the

           infliction of sadistic force upon any inmate by any officer or inmate;

       E. An order preliminarily and permanently enjoining the City of St. Louis, its

           corrections officers and agents from depriving any inmate of medical attention

           following the infliction of sadistic force upon any inmate by any officer or other

           inmate;

       F. Compensatory damages;

       G. Exemplary damages in excess of $150,000;

       H. Reasonable attorney’s fees and costs; and

       I. Any other relief this Court deems necessary and appropriate.

                                         Count IV
               Conspiracy to Violate the Eighth and Fourteenth Amendments

       Plaintiffs incorporate by reference each of the foregoing paragraphs as though fully

restated herein and for his complaint for Conspiracy to Violate the Eighth and Fourteenth

Amendment, pursuant to §§ 1983 and 1985 states the following:

210.   On each occasion plaintiff class members reported the incidents to other corrections

       officer, including those of higher rank (i.e. sergeants and captains).

211.   On each occasion plaintiff class members attempted submission of “Informal Resolution

       Reports” (and like documentation).

212.   Upon information and belief plaintiff class members requested formal grievance

       proceedings for the sadistic infliction of force by corrections officers.

213.   Defendants denied plaintiff class members access to final grievance procedures thru

       actions or omissions.



                                                 30
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 31 of 39 PageID #: 197



214.   Upon information and belief, Defendants have employed a policy of suppressing formal

       grievance procedures filed by prisoners.

215.   Plaintiff class members were denied final grievance procedures for the purpose of

       depriving plaintiff class members of their constitutional rights to liberty, personal security

       and well-being, and from cruel and unusual punishment.

216.   Defendants selected to employ sadistic force against prisoners because of its adverse

       effects upon prisoners in MSI and the Justice Center, in that plaintiff class members are

       incarcerated without access to means of addressing grievances beyond those procedures

       granted to them by their tormentors.

217.   Defendants felt that they could sadistically assault prisoners for no legitimate purpose, or

       for the purpose of discipline, because such transactions were commonplace in the City of

       St. Louis and had not been severely punished in prior instances.

218.   Neither Bryson, Roth, Stubblefield, nor Glass took any administrative measures to

       adequately address the individual claims of the plaintiff class members, or to repair the

       harm or risk of future harm.

219.   Upon information and belief, Bryson, Roth, Stubblefield, and/or Glass failed to

       investigate the individual claims of the plaintiff class members, or to repair the harm or

       risk of future harm.

220.   Upon information and belief, Bryson, Roth, Stubblefield, and/or Glass conspired to

       conceal the individual claims of the plaintiff class members.

221.   Upon information and belief, Bryson, Roth, Stubblefield, and/or Glass opted to cast a

       “blind eye” to the widespread pattern of sadistic use of force and failed to take remedial

       action, thereby ratifying the action and omissions of corrections officers.




                                                31
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 32 of 39 PageID #: 198



       WHEREFORE, for the foregoing reasons plaintiff prays for judgment in his favor and

against Brinson, Howard, Jeffries, Baker, Woods, Bryson, Roth, Stubblefield, Glass, and/or the

City of St. Louis in the form of:

       A. An order certifying a class of inmates who have either (i) been coerced by City of St.

           Louis corrections officers into sadistically inflicting harm upon another inmate or (ii)

           been sadistically victimized by inmates under the orders of any City of St. Louis

           corrections official, and appointing plaintiffs’ counsel as class counsel;

       B. A declaration that a City of St. Louis inmate may not “consent” to a corrections

           officer’s order to sadistically inflict harm upon any other inmate;

       C. An Order preliminarily and permanently enjoining the City of St. Louis, its

           corrections officers and agents from using prisoners to inflict sadistic force upon any

           inmate or prisoner;

       D. An order preliminarily and permanently enjoining the City of St. Louis, its

           corrections officers and agents from turning a blind eye to the imminent threat of the

           infliction of sadistic force upon any inmate by any officer or inmate;

       E. An order preliminarily and permanently enjoining the City of St. Louis, its

           corrections officers and agents from depriving any inmate of medical attention

           following the infliction of sadistic force upon any inmate by any officer or other

           inmate;

       F. Compensatory damages;

       G. Exemplary damages in excess of $150,000;

       H. Reasonable attorney’s fees and costs; and

       I. Any other relief this Court deems necessary and appropriate.




                                                32
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 33 of 39 PageID #: 199



                                           Count V
                                       Negligence Per Se

       Plaintiffs incorporate by reference each of the foregoing paragraphs as though fully

restated herein and for his complaint for Conspiracy to Violate the Eighth and Fourteenth

Amendment, pursuant to Missouri Revised Statute § 544.240 states the following:

222.   Pursuant to Missouri Revised Statute each and every jailer of every county “…through

       which such prisoner may be taken is required to receive and safely keep such prisoner in

       the jail of which he has charge…” § 544.240 RSMo.

223.   Missouri Revised Statute § 544.240 is intended to protect prisoners of every county

       within the State of Missouri.

224.   Corrections officers are obligated to protect prisoners against physical harm from other

       prisoners.

225.   Defendants knew or had reason to suspect imminent harm to another prisoner by the

       commission of one or more of the aforementioned acts and/or the failure to abate such

       acts.

226.   A reasonably prudent person would have anticipated such dangers and provided against

       it.

227.   Defendants have negligently failed to receive and safely keep prisoners.

228.   Upon information and belief, Bryson, Roth, Stubblefield, and/or Glass have failed to

       implement any policies prohibiting the use of sadistic force against inmates.

229.   Upon information and belief, Bryson, Roth, Stubblefield, and/or Glass knew or should

       have known of the corrections officers negligent failure to receive and safely keep

       prisoners.




                                               33
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 34 of 39 PageID #: 200



       WHEREFORE, for the foregoing reasons plaintiff prays for judgment in his favor and

against Brinson, Howard, Jeffries, Baker, Woods, Bryson, Roth, Stubblefield, Glass, and/or the

City of St. Louis in the form of:

       A. An order certifying a class of inmates who have either (i) been coerced by City of St.

           Louis corrections officers into sadistically inflicting harm upon another inmate or (ii)

           been sadistically victimized by inmates under the orders of any City of St. Louis

           corrections official, and appointing plaintiffs’ counsel as class counsel;

       B. A declaration that a City of St. Louis inmate may not “consent” to a corrections

           officer’s order to sadistically inflict harm upon any other inmate;

       C. An Order preliminarily and permanently enjoining the City of St. Louis, its

           corrections officers and agents from using prisoners to inflict sadistic force upon any

           inmate or prisoner;

       D. An order preliminarily and permanently enjoining the City of St. Louis, its

           corrections officers and agents from turning a blind eye to the imminent threat of the

           infliction of sadistic force upon any inmate by any officer or inmate;

       E. An order preliminarily and permanently enjoining the City of St. Louis, its

           corrections officers and agents from depriving any inmate of medical attention

           following the infliction of sadistic force upon any inmate by any officer or other

           inmate;

       F. Compensatory damages;

       G. Exemplary damages in excess of $150,000;

       H. Reasonable attorney’s fees and costs; and

       I. Any other relief this Court deems necessary and appropriate.




                                                34
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 35 of 39 PageID #: 201



                                              Count VI
                                        Negligent Supervision

       Plaintiffs incorporate by reference each of the foregoing paragraphs as though fully

restated herein and for his complaint for Conspiracy to Violate the Eighth and Fourteenth

Amendment, pursuant to Restatement (Second) of Torts § 317.

230.   At all times relevant, Defendants Bryson, Roth, Stubblefield, and Glass, in their official

       capacities, knew or had reason to know that they had the right to control Defendants

       Brinson, Howard, Jeffries, Baker, Woods, and other corrections officers within the St.

       Louis Justice Center and MSI.

231.   At all times relevant, Brinson, Howard, Jeffries, Baker, and Woods were within the St.

       Louis City Justice Center and MSI facilities.

232.   Bryson, Roth, Stubblefield, and Glass had a duty to prevent Brinson, Howard, Jeffries,

       Baker, Woods and other corrections officers from inflicting or allowing the inflictions of

       sadistic force upon prisoners.

233.   The safety, security, and movement of every person within the St. Louis City Justice

       Center and MSI are of the utmost importance to the Department of Corrections and the

       Department of Public Safety.

234.   Bryson, Roth, Stubblefield, and Glass knew or should have known of the necessity and

       opportunity for exercising control of Defendants Brinson, Howard, Jeffries, Baker,

       Woods, and other corrections officers.

235.   On each occasion plaintiff class members reported the incidents to other corrections

       officer, including those of higher rank (i.e. sergeants and captains).

236.   On each occasion plaintiff class members attempted submission of “Informal Resolution

       Reports” (and like documentation).



                                                 35
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 36 of 39 PageID #: 202



237.   Defendants Bryson, Roth, Stubblefield, and Glass were negligent for one or more of the

       following reasons:

238.   Bryson, Roth, Stubblefield, and Glass retained Brinson, Howard, Jeffries, Baker, and/or

       Woods in their employment when they knew or should have known Brinson, Howard,

       Jeffries, Baker, and/or Woods were inflicting or allowing the infliction of sadistic force

       on prisoners.

239.   Bryson, Roth, Stubblefield, and Glass were negligent in their supervision of Defendants

       Brinson, Howard, Jeffries, Baker, and Woods in that they allowed their corrections

       officers to inflict or allow the infliction of sadistic force on prisoners.

240.   Bryson, Roth, Stubblefield, and Glass were negligent in their supervision of their

       corrections officers so as to prevent them from intentionally harming the plaintiff class

       members.

241.   Bryson, Roth, Stubblefield, and Glass negligently failed to supervise their employees so

       as to prevent them (corrections officers) from conducting themselves as to create an

       unreasonable risk of bodily harm to the plaintiff class members.

242.   Bryson, Roth, Stubblefield, and/or Glass have negligently failed to implement any

       policies prohibiting the use of sadistic force against inmates.

243.   Bryson, Roth, Stubblefield, and Glass knew or should have known of prior instances of

       the sadistic use of force against plaintiff class members by reviewing (i) internal

       grievances filed by corrections officers or other department officials, (ii) formal

       allegations of excessive force by prisoners filed more than five years ago, (iii) “Suffering

       in Silence: Human Rights Abuses in St. Louis Correctional Centers” conducted and

       prepared by the American Civil Liberties Union of Eastern Missouri, (iv) prior civil




                                                  36
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 37 of 39 PageID #: 203



       actions against the City of St. Louis, (v) internal findings of the City of St. Louis Board

       of Alderman or special investigative committees, (vi) testimony of current and former

       department officials at hearings held by the City of St. Louis Board of Alderman, (vii)

       guilty pleas of former department officials, (viii) “Still Suffering in Silence: Continuing

       Human Rights Abuses in St. Louis Correctional Centers” conducted and prepared by the

       American Civil Liberties Union of Eastern Missouri, and/or (ix) deposition testimony of

       current and former department officials.

244.   As a direct and proximate result of the aforementioned Defendants failure to properly

       supervise their corrections officers, the plaintiff class members’ constitutional rights have

       been violated, including but not limited to Plaintiffs rights to liberty, personal security,

       protection, and well-being under the Fourth, Fifth, Eighth and Fourteenth amendments to

       the Constitution.

245.   As a direct and proximate result of the Defendants failure to properly supervise their

       corrections officers, the plaintiff class members have been seriously injured in that they

       have been subjected to the sadistic use of force, deprived meals, and deprived medical

       treatment.

       WHEREFORE, for the foregoing reasons plaintiff prays for judgment in his favor and

against Brinson, Howard, Jeffries, Baker, Woods, Bryson, Roth, Stubblefield, Glass, and/or the

City of St. Louis in the form of:

       A. An order certifying a class of inmates who have either (i) been coerced by City of St.

           Louis corrections officers into sadistically inflicting harm upon another inmate or (ii)

           been sadistically victimized by inmates under the orders of any City of St. Louis

           corrections official, and appointing plaintiffs’ counsel as class counsel;




                                                 37
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 38 of 39 PageID #: 204



     B. A declaration that a City of St. Louis inmate may not “consent” to a corrections

        officer’s order to sadistically inflict harm upon any other inmate;

     C. An Order preliminarily and permanently enjoining the City of St. Louis, its

        corrections officers and agents from using prisoners to inflict sadistic force upon any

        inmate or prisoner;

     D. An order preliminarily and permanently enjoining the City of St. Louis, its

        corrections officers and agents from turning a blind eye to the imminent threat of the

        infliction of sadistic force upon any inmate by any officer or inmate;

     E. An order preliminarily and permanently enjoining the City of St. Louis, its

        corrections officers and agents from depriving any inmate of medical attention

        following the infliction of sadistic force upon any inmate by any officer or other

        inmate;

     F. Compensatory damages;

     G. Exemplary damages in excess of $150,000;

     H. Reasonable attorney’s fees and costs; and

     I. Any other relief this Court deems necessary and appropriate.


                                                  Respectfully Submitted



                                                  /s/ Paul E. Sims_____________
                                                  Freeman R. Bosley, Jr. #29341MO
                                                  Daniel R. Brown #59749MO
                                                  Ryan M. Smith #59928MO
                                                  Paul E. Sims #50536MO
                                                  Attorneys for the Plaintiffs




                                             38
Case: 4:12-cv-01482-JCH Doc. #: 43 Filed: 10/10/13 Page: 39 of 39 PageID #: 205



                                    CERTIFICATE OF SERVICE

        The undersigned hereby certifies a copy of the foregoing was electronically filed with the Court

for service by means of Notice of Electronic filing on this _10th__ day of __October_______, 2013,

upon:

Mr. J. Brent Dulle
City Counselor’s Office
1200 Market, City Hall, Room 314
St. Louis, MO 63103




                                                   39
